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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §          2:17-CR-113 (2)
                                                §
                                                §          ECF
JUAN MARTINEZ                                   §

                   JUAN MARTINEZ’ MOTION FOR CONTINUANCE

        COMES NOW Juan Martinez, a Defendant in the above captioned case and files this his

Motion for Continuance from the hearing currently set for Friday, August 10, on the Government’s

Motion to Revoke Pretrial Release. In support of this Motion, Martinez would show the court as

follows:

        1.     Defendant admits the allegations contained in Paragraph II.1.

        2.     Defendant admits the allegations contained in Paragraph II.2.

        3.     Defendant admits the allegations contained in Paragraph II.3.

        4.     Defendant admits the allegations contained in Paragraph II.4.

        5.     Defendant admits the allegations contained in Paragraph II.5.

        6.     Counsel for Defendant received the Motion to Revoke Pretrial Release at 3:03 p.m.

on Monday, August 6, 2018. The Order setting hearing for Friday, August 10, 2018, was received

at 3:13 p.m.

        7.     Defendant currently resides in Las Vegas, Nevada, with his wife and five children.

At this time they have no means of transportation, nor the funds to make an additional trip to

Amarillo, Texas, prior to the sentencing hearing currently scheduled for Wednesday, August 22,

2018.

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       8.      It is anticipated that Defendant’s wife, Jessica Rodriguez will also need to be present

at any such hearing to give testimony regarding the allegations contained in the Government’s

Motion. With both parents’ presence required at the hearing, adequate arrangements will have to

be made to care for the couple’s five children on an extremely short deadline.

       9.      Defendant respectfully requests that this Court continue the hearing on the

Government’s Motion until August 17, 2018.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court grant this

Motion for Continuance and vacate the current hearing date and reschedule same for August 17,

2018, and for such other and further relief to which he may show himself justly entitled.

                                              Respectfully submitted,

                                              /s/ David M. Russell
                                              David M. Russell
                                              State Bar No. 17409300
                                              david@tshhr.com
                                              TEMPLETON, SMITHEE, HAYES,
                                                     HEINRICH & RUSSELL, L.L.P.
                                              320 S. Polk, Suite 1000
                                              Amarillo, Texas 79101
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                                              Telecopy No. 806/379-8568
                                              ATTORNEY FOR
                                              DEFENDANT JUAN MARTINEZ




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                             CERTIFICATE OF CONFERENCE

      I, David M. Russell, certify that I conferred with the following parties on the 8th day of
August, 2018:

       Assistant U.S. Attorney Sean Taylor stated that the Government does not oppose the motion.

       Mark Packard, Counsel for Co-Defendant, Jessica Oregel Rodriguez, does not oppose the
       Motion.



                                            /s/ David M. Russell
                                            David M. Russell



                                CERTIFICATE OF SERVICE

       This is to certify that a true and exact copy of Defendant JUAN MARTINEZ’s Motion for
Continuance was electronically served via the CM/ECF system of the United States District Court
for the Northern District of Texas on Assistant United States Attorney Sean Long, Mark Packard,
Counsel for Co-Defendant, Jessica Oregel Rodriguez and Ron Spriggs, Counsel for Co-Defendant
Toni Freddy Herrera on the 8th day of August, 2018.


                                            /s/ David M. Russell
                                            David M. Russell




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